                   Case 1:10-cv-10477-GAO Document 1-3 Filed 03/19/10 Page 1 of 1
                                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) Andrea Casula v. athenahealth, Inc. et al.



2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
   rule 40.1(a)(1)).

             I.         160, 410, 470, 535, R.23, REGARDLESS OF NATURE OF SUIT.

     ✔       II.        195, 196, 368, 400, 440, 441-446, 540, 550, 555, 625, 710, 720, 730, *Also complete AO 120 or AO 121
                        740, 790, 791, 820*, 830*, 840*, 850, 890, 892-894, 895, 950.         for patent, trademark or copyright cases

             III.       110, 120, 130, 140, 151, 190, 210, 230, 240, 245, 290, 310,
                        315, 320, 330, 340, 345, 350, 355, 360, 362, 365, 370, 371,
                        380, 385, 450, 891.

             IV.        220, 422, 423, 430, 460, 462, 463, 465, 480, 490, 510, 530, 610,
                        620, 630, 640, 650, 660, 690, 810, 861-865, 870, 871, 875, 900.

             V.         150, 152, 153.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.



4. Has a prior action between the same parties and based on the same claim ever been filed in this court?
                                                                                      YES             NO    ✔
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?     (See 28 USC
   §2403)
                                                                                      YES             NO    ✔
   If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?
                                                                                      YES             NO

6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                      YES             NO    ✔
7. Do all of the parties in this action, excluding governmental agencies of the united states and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                      YES             NO    ✔
             A.         If yes, in which division do all of the non-governmental parties reside?

                        Eastern Division                        Central Division            Western Division

             B.         If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                        residing in Massachusetts reside?

                        Eastern Division      ✔                 Central Division            Western Division

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)
                                                                                 YES                  NO

(PLEASE TYPE OR PRINT)
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                                                                                                           (CategoryForm-08.wpd -2/8/08)
